Case: 4:16-cv-03011-BYP Doc #: 1-1 Filed: 12/16/16 1 of 2. PagelD #: 11

JS 44 (Rev. 07/16)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filin
provided by local rules of court. This form, approved by the Judicial Conference of the United States in

September

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

ig and service of pleadings or other

papers as required by law, except as
1974, is required for the use of the Clerk of Court for the

I. (a) PLAINTIFFS

Kalilo Robinson
630 E. Passadena, Youngstown, OH 44505

(b) County of Residence of First Listed Plaintiff Mahoning _
(EXCEPT IN U.S. PLAINTIFF CASES)

(c} Attorneys (Firm Name, Address, and T: elephone Number}

Attorney James R. Wise
P.O. Box 3388, Boardman, OH 4513, (330) 233-3767

DEFENDANTS

NOTE:

Attomeys (Jf Known)

County of Residence of First Listed Defendant

Mahoning

Mahoning County, Paul Gains, Dawn Cantalamessa, Shawn Burns

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

II. BASIS OF JURISDICTION (Place an “X" in One Box Only)

{For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One

and One Box for Defendant)

Box jor Plaintiff

T1 U.S. Government 3° Federal Question PTF DEF PTF DEF
Plaintiff (US. Government Not a Party) Citizen of This State ao 1 O 1 Incorporated or Principal Place 34 04
of Business In This State
O 2. U.S. Government 4 Diversity Citizen of Another State 4 2 © 2 Incorporated and Principal Place Os os
Defendant (Indicate Citizenship of Parties in Item fi) of Business In Another State
Citizen or Subject of a 43 & 3 Foreign Nation O6 O86
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Only)
Ll CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
1 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Dug Related Seizure 422 Appeal 28 USC 158 1 375 False Claims Act
120 Marine 0 310 Airplane 01 365 Personal Injury. - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
01 130 Miller Act 1 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
OC 140 Negotiable Instrument Liability C1 367 Health Care/ 1 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights © 430 Banks and Banking
1 151 Medicare Act C330 Federal Employers’ Product Liability O 830 Patent 3 450 Commerce
(1 152 Recovery of Defaulted Liability 368 Asbestos Personal 1 840 Trademark © 460 Deportation
Student Loans C1 340 Marine Injury Product (1 470 Racketeer Influenced and
(Excludes Veterans) 1 345 Marine Product Liability LABOR SOCIAL SECURITY Corrupt Organizations
[1 153 Recovery of Overpayment Liability PERSONAL PROPERTY | J 710 Fair Labor Standards O 861 HIA (1395ff) 1 480 Consumer Credit
of Veteran’s Benefits ( 350 Motor Vehicle O 370 Other Fraud Act O1 862 Black Lung (923) 1 490 Cable/Sat TV
O 160 Stockholders’ Suits © 335 Motor Vehicle O 371 Truth in Lending 720 Labor/Management 1 863 DIWC/DIWW (405(g)) | 850 Securitics/Commodities/
O 190 Other Contract Product Liability 380 Other Personal Relations O 864 SSID Title XVI Exchange
195 Contract Product Liability | 360 Other Personal Property Damage 740 Railway Labor Act CO 865 RSI (405(g)) TI 890 Other Statutory Actions
O 196 Franchise Injury 1 385 Property Damage © 751 Family and Medical O 891 Agricultural Acts
O 362 Personal Injury - Product Liability Leave Act © 893 Environmental Matters
Medical Malpractice 1 790 Other Labor Litigation 1 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |0 791 Employee Retirement FEDERAL TAX SUITS Act
0 210 Land Condemnation & 440 Other Civil Rights Habeas Corpus: Income Security Act 0 870 Taxes (U.S. Plaintiff 896 Arbitration
O 220 Foreclosure 441 Voting O 463 Alien Detainee or Defendant) 1 899 Administrative Procedure
Cl 230 Rent Lease & Ejectment 0 442 Employment 1 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
O1 245 Tort Product Liability Accommodations 1 330 General 1 950 Constitutionality of
© 290 All Other Real Property ©) 445 Amer. w/Disabilities -| 0 535 Death Penalty IMMIGRATION State Statutes
Employment Other; © 462 Naturalization Application
1 446 Amer. w/Disabilities -] J 540 Mandamus & Other O 465 Other Immigration
Other O 550 Civil Rights Actions
1 448 Education 7 5355 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Bax Only)

wi (12 Removed from
State Court

Original
Proceeding

[ 3  Remanded from

Appellate Court

1 4 Reinstated or

Reopened

O 5 Transferred from
Another District
(specif)

O 6 Multidistrict
Litigation -
Transfer

8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil
28 U.S.C. 1983

Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause:
Malicious prosecution

VIL REQUESTED IN QO CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. 1,000,000.00 JURY DEMAND: WYes No
VHI. RELATED CASE(S)

IF ANY OOS oe _ DOCKET NUMBER oe
DATE SIGNATURE OF STPORNEY oF RECORD — —

12/16/2016 eetlers

LL it Of utmons

FOR OFFICE USE ONLY

RECEIPT # AMOUNT!

APPLYING IFP

JUDGE

MAG. JUDGE

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

l. Civil Categories: (Please check one category only).

1. General Civil
2.{ | Administrative Review/Social Security

3. [| Habeas Corpus Death Penalty

“If under Title 28, §2255, name the SENTENCING JUDGE:

CASE NUMBER:

ll. RELATED OR REFILED CASES. See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court

and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and

subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for

bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."
This action is |_| RELATED to another PENDING civil case. This action is |__| REFILED pursuant to LR 3.1.

If applicable, please indicate on page 1 in section Vill, the name of the Judge and case number.

il. In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
divisional offices therein, Actions involving counties in the Western Division shall be filed at the Toledo office. For the

purpose of determining the proper division, and for statistical reasons, the following information is requested.

ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 INORDER. UPON FINDING WHICH
PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

(1) Resident defendant. If the defendant resides ina county within this district, please set forth the name of such

county
COUNTY:

Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in which

it has its principal place of business in that district.

(2) Non-Resident defendant. if no defendant is a resident of a county in this district, please set forth the county
wherein the cause of action arose or the event complained of occurred.

COUNTY:

(3) Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle

place of business within the district, and the cause of action arose or the event complained of occurred outside

this district, please set forth the county of the plaintiff's residence.
COUNTY:

IV. The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
determined in Section Ill, please check the appropriate division.

EASTERN DIVISION

[| AKRON (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
[| CLEVELAND (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga, Lake,

Lorain, Medina and Richland)
YOUNGSTOWN (Counties: Columbiana, Mahoning and Trumbull)

WESTERN DIVISION

[| TOLEDO (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
VanWert, Williams, Wood and Wyandot)

